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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )
                                          )             Case No. 06-231M
10         v.                             )
                                          )
11   SUN CHUL LEE,                        )             DETENTION ORDER
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Commit False Use of Passport and Bank Fraud in violation of 18 U.S.C.

16 §§ 1344 and 2.

17 Date of Detention Hearing: May 16, 2006.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)     Defendant is a native and citizen of Korea. There is no information available

22 regarding any family ties to this community or to the Western District of Washington.

23          (2)     A detainer has been placed on defendant by Immigration and Customs

24 Enforcement.

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (3)     Defendant has stipulated to detention, due to the immigration detainer lodged

02 against him, but reserves the right to contest his continued detention if there is a change in

03 circumstances.

04          (4)     There appear to be no conditions or combination of conditions other than

05 detention that will reasonably assure the defendant’s appearance at future Court hearings.

06          IT IS THEREFORE ORDERED:

07          (1)     Defendant shall be detained pending trial and committed to the custody of the

08                  Attorney General for confinement in a correction facility separate, to the extent

09                  practicable, from persons awaiting or serving sentences or being held in custody

10                  pending appeal;

11          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

12                  counsel;

13          (3)     On order of a court of the United States or on request of an attorney for the

14                  government, the person in charge of the corrections facility in which defendant

15                  is confined shall deliver the defendant to a United States Marshal for the purpose

16                  of an appearance in connection with a court proceeding; and

17          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

18                  counsel for the defendant, to the United States Marshal, and to the United States

19                  Pretrial Services Officer.



                                                          A
20                  DATED this 17th day of May, 2006.

21
                                                          JAMES P. DONOHUE
22                                                        United States Magistrate Judge
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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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